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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,


        - against -                              ORDER

                                                 15-M-219
ELEONARA GIGLIOTTI, et al.


                            Defendant.

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     This order addresses the supplemental motion of defendant

Eleonara Gigliotti for a bond and for a court hearing to clarify

the terms of a bond set at a hearing on March 27, 2015.              See DE 26.

The request for a further hearing is denied.            Insofar there is a

need for clarification, this Court sets forth herein the terms of

the bond previously set.

     At the hearing held, this Court stated the bail package

proposed by defendant was insufficient.         The package included a

$1,000,000 bond to be co-signed by five sureties -- the defendant's

two brothers-in-law, Mario and Luigi Gigliotti, Peorina Gigliotti

(Luigi's wife), and the defendant's son and his wife -- and further

secured by three properties owned by the sureties.            Upon hearing

that Mario owned a second property, this Court required him to post

that property as collateral, too.       Tr. 26.     Ultimately, this Court

granted defendant's request for release on a bond, set a bond in

the amount of $4,000,000, and, in addition to the original sureties
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proposed and their properties discussed, required that the

defendant's father-in-law, Angelo Gigliotti, co-sign the bond and

have a lien placed on his property where the Mario Gigliotti

operates a restaurant.      See Tr. at 25.

     Because this Court conditioned defendant's release on

satisfaction of all requirements set, defense counseled requested,

and the Court agreed, that the sureties, who were all present at

hearing except for Angelo Gigliotti, be permitted to sign the bond

before the Court at that time.         Tr. 27.    After the bond form was

completed and the five sureties signed it, I proceeded to advise

the sureties of the risks they faced should the defendant violate

the conditions of release.      Tr. at 30-31.       In doing so, this Court

referred to only four properties, since these were the properties

that five sureties signing the bond owned and were required to post

as collateral.    Tr. 31.   The Court did not mention the fifth

property required as collateral, Angelo Gigliotti's property,

because there was no need to do so.

     The signatures of the five sureties were on a second page of

the bond and their properties were listed on that page.               The

signature line for Angelo Gigliotti and other conditions of release

to be ordered by the Court were on the first page of the bond.

This Court neglected to notice that there was no provision on

either page of the bond that Angelo Gigiliotti would have to have a

lien placed on his property, too.            This was an oversight by the

Court.   The Court notes that the bond was prepared by the

arraignment deputy who had left the courtroom to type up the bond

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shortly after she understood that this Court would grant the

defendant's motion for a bond.         She was likely not present in the

courtroom when discussion turned to Angelo Gigliotti's property.

In any event, she apparently was not aware that I had required a

fifth property to be posted.      She prepared the calendar for this

proceeding without review by the Court, as is commonly the practice

in proceedings in the Arraignment Court, and the minute entry

docketed repeated her notation on the calendar that the bond would

be secured by four properties.

     Thus, if any modification is required, it is correction of the

court calendar, minute entry and bond to reflect accurately the

Court's ruling that the defendant's release is conditioned upon the

signing of a $4,000,000 bond by the six sureties and secured by

five properties, as discussed at the March 27, 2015 hearing.

     This order will be filed with a docket entry noting that the

court minute entry and court calendar filed for the March 27th

proceeding are deemed corrected to refer to five properties,

instead of four.    The property owned by Angelo Gigliotti shall be

added to the bond form prior to his signing it.

     SO ORDERED.


Dated:     Brooklyn, New York
           April 1, 2015


                                              /s/
                                             MARILYN D. GO
                                             UNITED STATES MAGISTRATE JUDGE




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